Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 1 of 17 Page ID #1



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS

3D LASERS LAB LLC,                                )
                                                  )
        Plaintiff,                                )
                                                  )         Case No. 3:19-cv-00098
v.                                                )
                                                  )
STEPHEN P. BENBOW, d/b/a                          )         PLAINTIFF DEMANDS
SPINTECH,                                         )         A TRIAL BY JURY
                                                  )
        Defendant.                                )

     COMPLAINT FOR TRADEMARK INFRINGEMENT, UNFAIR COMPETITION,
              DILUTION AND DECEPTIVE TRADE PRACTICES

        COMES NOW plaintiff, 3D Lasers Lab LLC, an Illinois limited liability company

(hereinafter, “Plaintiff”), by and through its attorneys, brings this Complaint against defendant

Stephen P. Benbow, doing business as SpinTech (hereinafter, “Defendant”) for Defendant’s

infringement and dilution of Plaintiff’s trademark rights, unfair competition and deceptive trade

practices. For its complaint against Defendant, Plaintiff alleges as follows:

                                    NATURE OF THE ACTION

        1.      This is an action for unfair competition and trademark infringement pursuant to

the Lanham Act, 15 U.S.C. § 1125(a), dilution pursuant to the Illinois Trademark Registration

and Protection Act, 765 ILCS § 1035/65, deceptive trade practices under the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510/1, et seq., and Illinois common law.

        2.      Despite knowledge of Plaintiff’s extensive use of and substantial common law

rights in its trademarks, Defendant has used confusingly similar or identical names and online

listings to sell products similar to Plaintiff’s in violation of Plaintiff’s intellectual property rights.

        3.      Given the extraordinary, continuous and intentional nature of Defendant’s actions,

Plaintiff seeks that this Court award Plaintiff its reasonable attorney fees.
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 2 of 17 Page ID #2



       4.      Furthermore, because of the immediate and irreparable harm caused by

Defendant’s improper use of Plaintiff’s marks, Plaintiff seeks preliminary and permanent

injunctive relief and damages for Defendant’s illegal and unauthorized acts.

       5.      The action results from Defendant’s infringement of Plaintiff’s mark, “3D Lasers”

and its derivatives, as well as Plaintiff’s mark “3D Lasers Lab” and its derivatives (hereinafter

collectively referred to as the “marks”).

       6.      The infringement results from Defendant’s unauthorized use of the marks “3D

Lasers” and “3D Lasers Lab” online, in related advertisements, with products not manufactured

by Plaintiff, and Defendant’s use of Amazon listings directly affiliated with the marks.

                                            THE PARTIES

       7.      Plaintiff originally was a sole proprietorship owned by Michael G. Schalk, who

then transferred his rights, including any rights that he may have in this action, to an Illinois

limited liability company that he formed named 3D Lasers Lab LLC. Plaintiff’s principal place

of business is located within this district at 1014 Ruskin Avenue, Edwardsville, Illinois 62025.

       8.      Plaintiff is in the business of designing, manufacturing, and selling Oculus Rift

Sensor mounts (hereinafter, the “mounts”).

       9.      These mounts are primarily sold through Amazon.com through the names “3D

Lasers Lab” and “3D Lasers”.

       10.     Upon Plaintiff’s information and belief, Defendant is a sole proprietorship located

in North Carolina and is owned by Stephen P. Benbow, doing business as SpinTech.

       11.     Upon Plaintiff’s information and belief, Defendant is doing business in this

district and has promoted goods by allowing customers to purchase counterfeit, inferior quality

mounts with marks identical to Plaintiff’s marks.

                                                 2
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 3 of 17 Page ID #3



                                 JURISDICTION AND VENUE

       12.     This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331, 1332(a)(1) and 1338(a) through (b). This Court has jurisdiction over Plaintiff’s

related common law claim under 28 U.S.C. § 1367.

       13.     Venue and personal jurisdiction are proper in the Southern District of Illinois

under 28 U.S.C. § 1391(b) through (c) and 15 U.S.C. § 1121, since, inter alia, a substantial part

of the events or omissions giving rise to the claims occurred here in this district, Defendant is

doing business in this district, and Defendant has promoted goods in this district allowing

customers to purchase counterfeit mounts with marks identical to Plaintiff’s marks. Further, upon

information and belief, Defendant is a foreign sole proprietorship, and sells his merchandise via

one or more internet websites with a substantial effect on commerce in this district.

                                  GENERAL ALLEGATIONS

       14.     Plaintiff’s Valuable Intellectual Property:

               a.      Since long before the acts of Defendant described herein, Plaintiff has,

since at least as early as February 8, 2017, continuously used the mark “3D Lasers Lab” in

connection with the marketing and sale of its mounts to customers in Illinois and throughout the

United States. This mark is Plaintiff’s registered business name in Illinois.

               b.      Since long before the acts of Defendant described herein, Plaintiff has,

since at least as early as February 8, 2017, continuously used the mark “3D Lasers” in

connection with the marketing and sale of its mounts to customers in Illinois and throughout the

United States. This mark forms a part of Plaintiff’s registered business name in Illinois.

               c.      On Plaintiff’s Amazon.com seller page, Plaintiff makes the following

representations about its high-quality products:

                                                   3
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 4 of 17 Page ID #4



                        i. “Available in 2, 3, & 4-Packs!”

                        ii. “ENHANCE YOUR VR EXPERIENCE | Give yourself more play-

                            space by replacing the Oculus Rift Sensor stands.”

                        iii. “DAMAGE-FREE | Each display mount comes with 3M Command

                            Strips to avoid damaging your walls and for an easy, quick set-up.

                            Works on smooth, painted, or textured walls. Perfect for apartments

                            and dormitories!”

                        iv. “STAY CALIBRATED | Avoid having to re-calibrate your sensors.

                            Once on the wall they stay calibrated until removal.”

                        v. “MADE IN USA | Manufactured by 3D Lasers Lab. Hole reamed for

                            a perfect fit. 3D printed at 0.2 mm resolution.”

               d.      From its inception, Plaintiff’s mounts have been widely accepted by the

consuming public, with Plaintiff having a six-figure sales revenue for the calendar year 2018

despite Defendant’s actions causing Plaintiff’s revenue to decline.

               e.      Plaintiff widely advertises its mounts under the names “3D Lasers Lab”

and “3D Lasers” on the internet, primarily on Amazon.com.

               f.      Plaintiff encloses a paper card with the logo for “3D Lasers” in all

products that it manufactures and has advertised and/or marketed its mounts with this logo. A

copy of that logo is attached hereto as Exhibit 1.

               g.      As a result of Plaintiff’s great marketing efforts, Plaintiff has enjoyed

many positive online reviews from the consuming public on Amazon.com.

               h.      Plaintiff has become well-known among the relevant consuming public as

the single source of mounts marketed under the 3D Lasers Lab and 3D Lasers brand names.

                                                 4
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 5 of 17 Page ID #5



       15.     Defendant’s Unauthorized Use of Plaintiff’s Intellectual Property:

               a.      Plaintiff has never authorized, licensed, or otherwise permitted Defendant

to use Plaintiff’s marks.

               b.      Starting on March 22, 2018, Defendant purchased Plaintiff’s mounts to

begin designing and selling his own.

               c.      Upon information and belief, Defendant then purchased additional mounts

from Plaintiff for replication purposes on June 25, 2018 and August 16, 2018.

               d.      Defendant purchased these mounts so that he could copy Plaintiff’s

product, right down to the logo, and then sell these products for his own benefit.

               e.      Defendant produced imitation mounts that were of inferior quality, to-wit:

                        i. Defendant’s imitation mounts are 3D printed in PLA instead of the

                            superior ABS printing standard used by Plaintiff;

                        ii. Defendant’s imitation mounts are printed with a wavy surface that

                            causes them to not correctly mount to the wall versus Plaintiff’s

                            mounts, which do correctly mount to the wall; and

                        iii. Defendant’s imitation mounts have a hole that is the wrong size to

                            function properly when mounted to the wall versus Plaintiff’s mounts,

                            which have a correct hole size.

                        These imitation mounts are hereinafter referred to as the “bad mounts”.

               f.      Upon information and belief, Defendant began selling these bad mounts

on Amazon.com as early as April of 2018.

               g.      However, Defendant completed, listed and sold his bad mounts on

Amazon at least as early as May 22, 2018 per the social media post attached hereto as Exhibit 2.

                                                 5
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 6 of 17 Page ID #6



               h.        When Defendant sold his bad mounts on Amazon.com, he represented to

Amazon that these products were Plaintiff’s mounts, manufactured by Plaintiff, instead of

admitting that Defendant was selling his own bad mounts.

               i.        Defendant then used a functionality within Amazon to ensure that his bad

mounts would be the first option for sale for any customer who would click on products by “3d

Lasers Lab”. Upon information and belief, that functionality is a repricing functionality.

               j.        To demonstrate this, Plaintiff has gone to Amazon.com and collected two

screenshots on January 30, 2019 that are attached hereto as Exhibit 3 and Exhibit 4.

               k.        As shown on Exhibit 3, when a consumer goes to Amazon.com and

searches for “Oculus Rift Sensor Wall Mounts”, products “by 3d Lasers Lab” are listed. As

Exhibit 4 then shows, if a mount shown as “by 3d Lasers Lab” is clicked, the product page

appears showing Plaintiff’s mounts. However, on the right-hand side of Exhibit 4, right above

the “Add to Cart” button, it states, “Sold by SpinTech and Fulfilled by Amazon.”

               l.        This result was achieved by Defendant’s misrepresentations to Amazon

that it is selling genuine mounts by Plaintiff and using the aforementioned functionality within

Amazon. This would be akin to selling shoes that a person claimed to be a Nike shoe on Amazon

even though that person actually made the “Nike” shoe in their parent’s basement.

               m.        Unfortunately, the result is that when a customer tries to purchase

Plaintiff’s mounts, that consumer often will receive a bad mount from Defendant instead of one

of Plaintiff’s mounts.

               n.        The aforementioned actions are done intentionally by Defendant so that he

can pass off his bad mounts as Plaintiff’s mounts.



                                                 6
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 7 of 17 Page ID #7



               o.      To pretend that he is selling Plaintiff’s mounts, Defendant even replicated

the paper cards featuring the logo for 3D Lasers that come with each of Plaintiff’s mounts.

               p.      The only differences in packaging were differences in font choice and

paper thickness. See Exhibit 5. Defendant’s packages also often contain hairs, dust or debris.

               q.      As a result, Defendant stole profits that rightfully belonged to Plaintiff by

duping consumers into believing that they were buying Plaintiff’s mounts when they were

actually buying Defendant’s bad mounts.

               r.      Furthermore, Plaintiff began receiving negative online reviews because

consumers believed that the bad mounts in their dirty packaging were manufactured and

distributed by Plaintiff even though they had been manufactured and distributed by Defendant.

               s.      Plaintiff has requested in writing no less than four times since May 2018

that Defendant cease passing off his bad mounts as Plaintiff’s mounts. Despite those demands,

Defendant is continuing his illegal actions as of the filing of this Complaint.

               t.      Plaintiff even personally called Defendant to ask him to stop his illegal

actions. When Plaintiff stated its name, Defendant immediately hung up the phone on Plaintiff.

               u.      These actions of Defendant are intentional as shown in four social media

posts by Defendant, attached hereto as Exhibits 6 through 9.

               v.      In Exhibit 6, Defendant states, “This is honestly getting kind of

ridiculous” and shows off a picture of at least one hundred of his counterfeit bad mounts,

complete with the reprint of Plaintiff’s logo for 3D Lasers.

               w.      In Exhibit 7, Defendant admits, again on social media, that these products

are not Plaintiff’s products. Instead, Defendant admits: “they’re camera mounting brackets for vr

cameras. I 3D print and then sell them”.

                                                  7
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 8 of 17 Page ID #8



               x.      In Exhibit 8, Defendant says of his actions: “It’s legal to print. It’s

copyright infringement (or something, some kind of legal infringement….) but practically

speaking nobody is going to go after [me] unless they find out and stood to make a lot of money

off [of me] which is highly unlikely.”

               y.      Finally, in Exhibit 9, Defendant admits on social media that he is worried

that someone will do to him what he is doing to Plaintiff:

                       “I am worried about this with selling on amazon. As I start to add

                       more products I’m worried that if 1 smart person with 3d printers

                       finds my amazon profile pretty soon someone with the same idea

                       will make a new product that’s mine but 2 dollars cheaper….”

               z.      Unfortunately, despite Plaintiff making multiple efforts, Amazon itself

will not correct Defendant’s deception, forcing Plaintiff to resort to this Court.

       16.     Defendant’s unauthorized use of Plaintiff’s marks has and is likely to continue to

mislead, deceive, and confuse consumers, who are likely to assume that the bad mounts bearing

Plaintiff’s marks are mounts that were manufactured by Plaintiff.

       17.     Furthermore, Defendant’s dirty packaging further harms Plaintiff’s reputation.

       18.     Due to the aforesaid acts by the Defendant, Plaintiff has and will continue to

suffer substantial damages and injury. Plaintiff has no adequate remedy at law, and unless

Defendant is restrained and enjoined by the Court, the acts will be continued and will continue to

cause damage to Plaintiff’s goodwill and business reputation.

       19.     Due to the actual and potential loss of customers and sales, and the reality and

further possibility of Defendant providing an inferior product using Plaintiff’s marks, Plaintiff

cannot ascertain the precise amount of damages at this time, but those damages exceed $75,000.

                                                  8
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 9 of 17 Page ID #9



                                             Count I
                                   Federal Unfair Competition
                          Violation of Section 43(a) of the Lanham Act

       COMES NOW Plaintiff, and for Count I of its Complaint against Defendant, states to the

Court as follows:

       20.     Plaintiff incorporates by reference as though fully set forth herein paragraphs 1

through and including 19 of its Complaint as and for paragraph 20 of Count I of its Complaint.

       21.     As its first ground for relief, Plaintiff hereby alleges federal unfair competition in

violation of § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       22.     Defendant has unlawfully used Plaintiff’s marks in advertising and commerce so

that Defendant could confuse the consuming public into believing that Defendant’s bad mounts

were manufactured by Plaintiff.

       23.     These actions show Defendant’s malicious intent to deliberately and willfully

trade in on Plaintiff’s long-standing and hard-earned goodwill in its name and marks and the

reputation established by Plaintiff in connection with its products.

       24.     Defendant’s adoption and use of the Plaintiff’s names and marks, as alleged

herein, constitutes use of a false designation of origin or a false representation, which falsely

designates, describes and/or represents the Defendant’s products and business as originating

from or being in connection with Plaintiff, which is not the case, and thereby constitute a false

description or representation used in interstate commerce.

       25.     Defendant’s conduct has and is likely to continue to cause confusion, mistake or

deception as to the affiliation, connection or association of Defendant with Plaintiff, especially

those consumers seeking to buy from Plaintiff’s names and marks who are wrongfully redirected

to purchase from Defendant on Amazon.com.

                                                 9
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 10 of 17 Page ID #10



            26.   Plaintiff has been and is being damaged by such violation and has no adequate

 remedy at law. Further, Defendant’s unlawful conduct will continue to damage Plaintiff unless

 enjoined by this Court.

            27.   Based on Defendant’s previous and continuing knowledge of Plaintiff’s marks, as

 well as the Exhibits that are attached hereto, Defendant’s federal unfair competition violation is

 willful.

            WHEREFORE, Plaintiff requests the entry of judgment in its favor and against

 Defendant as is described in the prayer for relief as the end of this Complaint and to provide for

 such other and further relief as the Court deems just and proper.

                     PLAINTIFF DEMANDS A TRIAL BY JURY ON COUNT I
                                  OF ITS COMPLAINT.


                                               Count II
                              Federal Trademark Infringement Violation of
                                    Section 43(a) of the Lanham Act

            COMES NOW Plaintiff, and for Count II of its Complaint against Defendant, states to

 the Court as follows:

            28.   As its next ground for relief, Plaintiff incorporates by reference as though fully set

 forth herein paragraphs 1 through and including 27 of its Complaint as and for paragraph 28 of

 Count II of its Complaint.

            29.   Defendant’s unauthorized use of Plaintiff’s marks, such as causing the public to

 buy bad mounts from Defendant off of Plaintiff’s Amazon listing, is likely to cause confusion,

 mistake, or deception as to the origin, sponsorship, or association with Plaintiff’s marks.

            30.   Consumers do and are likely to believe that Defendant’s bad mounts are licensed

 by, sponsored by, and/or associated with the Plaintiff.

                                                   10
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 11 of 17 Page ID #11



        31.     Defendant’s unauthorized use of the marks falsely represents Defendant as being

 connected with Plaintiff and places Plaintiff’s reputation beyond its control.

        32.     Plaintiff has no adequate remedy at law and Defendant’s unlawful conduct will

 continue to damage Plaintiff unless enjoined by this Court.

        33.     Based on Defendant’s previous and continuing knowledge of Plaintiff’s marks, as

 well as the Exhibits that are attached hereto, Defendant’s trademark infringement is willful.

        WHEREFORE, Plaintiff requests the entry of judgment in its favor and against

 Defendant as is described in the prayer for relief as the end of this Complaint and to provide for

 such other and further relief as the Court deems just and proper.

                  PLAINTIFF DEMANDS A TRIAL BY JURY ON COUNT II
                                OF ITS COMPLAINT.


                                              Count III
                         Violation of the Illinois Uniform Deceptive Trade
                                             Practices Act

        COMES NOW Plaintiff, and for Count III of its Complaint against Defendant, states to

 the Court as follows:

        34.     Plaintiff incorporates by reference as though fully set forth herein paragraphs 1

 through and including 33 of its Complaint as and for paragraph 34 of Count III of its Complaint.

        35.     For its next ground for relief, Plaintiff hereby alleges a deceptive trade practice

 violation of the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1, et seq.

        36.     815 ILCS § 510/2(a) states: “A person engages in a deceptive trade practice when,

 … the person (1) passes off goods or services as those of another; (2) causes likelihood of

 confusion or of misunderstanding as to the source, sponsorship, approval, or certification of

 goods or services; (3) causes a likelihood of confusion or of misunderstanding as to affiliation,

                                                 11
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 12 of 17 Page ID #12



 connection, or association with or certification by another; … (5) represents that goods or

 services have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that

 they do not have or that a person has a sponsorship, approval, status, affiliation, or connection

 that he or she does not have; … (6) or represents that goods or services are of a particular

 standard, quality, or grade or that goods are a particular style or model, if they are of another[.]”

        37.     Further, in order to prevail, “… a plaintiff need not prove competition between

 the parties or actual confusion or misunderstanding.” 815 ILCS § 510/2(b).

        38.     Defendant’s unauthorized use of Plaintiff’s marks, as pleaded herein, on Amazon,

 business cards and in connection with inferior goods similar to Plaintiff’s causes a likelihood of

 confusion and deceives the public into believing the Defendant and Defendant’s inferior goods

 are affiliated and/or connected with the Plaintiff in violation of 815 ILCS §§ 510/1-7.

        39.     Plaintiff has been and is being damaged by such violation and has no adequate

 remedy at law. Defendant’s unlawful and willful conduct will continue to damage Plaintiff

 unless enjoined by this Court.

        40.     Based on Defendant’s previous and continuing knowledge of Plaintiff’s marks, as

 well as the Exhibits that are attached hereto, Defendant’s violation of the Illinois Uniform

 Deceptive Trade Practices Act is willful.

        WHEREFORE, Plaintiff requests the entry of judgment in its favor and against

 Defendant as is described in the prayer for relief as the end of this Complaint and to provide for

 such other and further relief as the Court deems just and proper.


                  PLAINTIFF DEMANDS A TRIAL BY JURY ON COUNT III
                                OF ITS COMPLAINT.



                                                  12
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 13 of 17 Page ID #13



                                              Count IV
                          Violation of the Illinois Trademark Registration
                               and Protection Act and Common Law

        COMES NOW Plaintiff, and for Count IV of its Complaint against Defendant, states to

 the Court as follows:

        41.     Plaintiff incorporates by reference as though fully set forth herein paragraphs 1

 through and including 40 of its Complaint as and for paragraph 41 of Count IV of its Complaint.

        42.     For its next ground for relief, Plaintiff alleges dilution in violation of the Illinois

 Trademark Registration and Protection Act, 765 ILCS § 1036, and the common law of Illinois.

        43.     By continuing the unauthorized use of Plaintiff’s marks, or approximation or

 simulations thereof, Defendant is in violation of the Illinois Trademark Registration and

 Protection Act and the common law of Illinois because of the diminished public association with

 the Plaintiff’s mark.

        44.     Plaintiff has been and is being damaged by such violation and has no adequate

 remedy at law. Defendant’s unlawful and willful conduct will continue to damage Plaintiff

 unless enjoined by this Court.

        45.     Based on Defendant’s previous and continuing knowledge of Plaintiff’s marks, as

 well as the Exhibits that are attached hereto, Defendant’s violation of the Illinois Trademark

 Registration and Protection Act is willful.

        WHEREFORE, Plaintiff requests the entry of judgment in its favor and against

 Defendant as is described in the prayer for relief as the end of this Complaint and to provide for

 such other and further relief as the Court deems just and proper.

                  PLAINTIFF DEMANDS A TRIAL BY JURY ON COUNT IV
                                OF ITS COMPLAINT.


                                                  13
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 14 of 17 Page ID #14



                                            Count V
                           Violation of Common Law Unfair Competition

        COMES NOW Plaintiff, and for Count V of its Complaint against Defendant, states to

 the Court as follows:

        46.     Plaintiff incorporates by reference as though fully set forth herein paragraphs 1

 through and including 45 of its Complaint as and for paragraph 46 of Count V of its Complaint.

        47.     As its next ground for relief, Plaintiff hereby alleges common law unfair

 competition.

        48.     As a result of Defendant’s actions as pleaded herein, Defendant has

 misappropriated valuable property rights belonging to Plaintiff, wrongfully diverted Plaintiff’s

 consumers to Defendant on Amazon.com, and has and is likely to further confuse and deceive

 members of the purchasing public in violation of Illinois’ common law of unfair competition.

        49.     Plaintiff has been and is being damaged by such violation and has no adequate

 remedy at law. Defendant’s unlawful and willful conduct will continue to damage Plaintiff

 unless enjoined by this Court.

        50.     Based on Defendant’s previous and continuing knowledge of Plaintiff’s marks, as

 well as the Exhibits that are attached hereto, Defendant’s violation of common law unfair

 competition is willful.

        WHEREFORE, Plaintiff requests the entry of judgment in its favor and against

 Defendant as is described in the prayer for relief as the end of this Complaint and to provide for

 such other and further relief as the Court deems just and proper.


                  PLAINTIFF DEMANDS A TRIAL BY JURY ON COUNT V
                                OF ITS COMPLAINT.


                                                 14
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 15 of 17 Page ID #15



                                     PRAYER FOR RELIEF

        51.     Plaintiff incorporates by reference as though fully set forth herein paragraphs 1

 through and including 50 of its Complaint as and for paragraph 51 of this Prayer for Relief.

        52.     That Defendant, his officers, agents, employees, licensees, attorneys, successors,

 related companies, parent companies, and assigns, and all those in active concern or participation

 with him, be forthwith preliminarily and thereafter permanently enjoined and restrained from:

                 a. Using Plaintiff’s marks or any other similar mark that is confusingly similar

                     to Plaintiff’s marks or gives rise to a likelihood of confusion, mistake or

                     deception with respect to Plaintiff’s marks;

                 b. Doing any other act or thing likely to induce the mistaken belief that

                     Defendant or his goods or business are in any way approved by or affiliated,

                     connected, or associated with Plaintiff or Plaintiff’s goods;

                 c. Unfairly competing with Plaintiff in any manner whatsoever or causing

                     injury to the business reputation of Plaintiff; and

                 d. Cease advertising products manufactured by Defendant on Plaintiff’s

                     Amazon listing.

        53.     That Defendant delivers for destruction all advertisements, brochures, current

 inventory of products, and related materials that utilize the Plaintiff’s marks or approximations or

 simulations thereof, and remove the same from any and all domain names and websites in

 Defendant’s possession or control that bear the marks.

        54.     That an accounting is granted against Defendant, and Plaintiff be awarded

 monetary relief in an amount to be fixed by the Court in its discretion as just, including:



                                                  15
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 16 of 17 Page ID #16



                 a. All profits received by Defendant from sales and revenues of any kind made

                      as a result of Defendant’s unlawful actions;

                 b. All damages sustained by Plaintiff as a result of Defendant’s acts of

                      infringement and unfair competition; and

                 c. An order awarding Plaintiff compensatory, consequential and other damages,

                      including pre- and post-judgment interest, suffered as a result of Defendant’s

                      violations of 15 U.S.C. § 1125(a), 815 ILCS § 510/1, et seq., 765 ILCS §

                      1036 and Illinois common law pertaining to unfair competition.

        55.     That Defendant file with the Court and serve upon Plaintiff within thirty (30) days

 after issuance of an injunction, a report in writing and under oath setting forth in detail the

 manner and form in which Defendant has complied with the injunction.

        56.     That because of the exceptional nature of this case, resulting from Defendant’s

 deliberate and willful infringement, this Court award Plaintiff its reasonable attorney fees, costs

 and disbursements.

        57.     That Plaintiff have such other and further relief as the Court may deem just.


                                         VERIFICATION

         We, Michael G. Schalk and Cathleen Wood, declare under penalty of perjury that we are
 the sole Members of 3D Lasers Lab LLC, an Illinois limited liability company, and that the
 statements contained in the foregoing Complaint are true and correct, except as to matters therein
 stated to be on information and belief, and, as to such matters, the undersigned certify as
 aforesaid that they verily believe the same to be true.

 3D LASER LAB, an Illinois limited liability company


 By:___________________________                        By:___________________________
     Michael G. Schalk, Member                             Cathleen Wood, Member


                                                  16
Case 3:19-cv-00098-SMY-RJD Document 1 Filed 02/01/19 Page 17 of 17 Page ID #17



 Dated:   February 1, 2019         Respectfully submitted,

                                   DONNER APPLEWHITE, ATTORNEYS AT LAW

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                                            17
